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                                  KP-0438
                              
                        
          
        
      
    
  

  

  
    
      KP-0438
              Ken Paxton
                  
        Categories
                        
Municipalities
              , 
General Law
              , 
Public Utilities
              , 
Sanitation
        
      
            
                  Summary
                      A court could conclude that section 363.113 of the Health and Safety Code authorizes the City of Escobares to provide solid waste disposal service in the extraterritorial jurisdiction as a means of assuring solid waste management service is provided to all persons in the City’s jurisdiction.
      
                          
            Opinion File
                         kp-0438.pdf 

      
          
                
        
      
    

          
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    RQ-0482-KP

      
  
                October 14, 2022

      
  
      
      
        Request PDF
                     RQ0482KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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